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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,                   )
                                             )
                       Plaintiff,            )
                                             )
        v.                                   )       No. 21-cr-667 (FYP)-2
                                             )
 MAHAILYA PRYER,                             )
                                             )
                       Defendant.            )
                                             )

                                    NOTICE OF APPEARANCE

        Please enter the appearance of First Assistant Federal Public Defender Michelle

Peterson on behalf of the defendant, Mahailya Pryer, in the above captioned matter.


                                            Respectfully submitted,

                                            A. J. KRAMER
                                            FEDERAL PUBLIC DEFENDER

                                                    /s/

                                            MICHELLE M. PETERSON
                                            First Assistant Federal Public Defender
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